     Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.511 Page 1 of 34




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 7
                                 UNITED STATES DISTRICT COURT
 8
                             SOUTHERN DISTRICT OF CALIFORNIA
 9
       ELIZABETH JIMINEZ, individually,                        Consolidated Case Nos.:
10                                                               17cv1205-BTM-AGS
       and as successor in interest of                           18cv1269-BTM-AGS
11     FERNANDO GEOVANNI LLANEZ,
       deceased; FERNANDO LLANEZ,                              NOTICE OF LODGMENT OF EXHIBITS
12                                                             IN SUPPORT OF THE MOTION FOR
       individually, and as successor in interest              SUMMARY JUDGMENT FILED BY
13     of FERNANDO GEOVANNI LLANEZ,                            THE UNITED STATES OF AMERICA
       deceased                                                AND RONALDO GONZALEZ
14
                                Plaintiffs,
15
16                   vs.
17                                                             CTRM: 15B
       THE UNITED STATES OF AMERICA;                           JUDGE: Hon. Barry Ted Moskowitz
18     RONALDO RICARDO GONZALEZ, an
                                                               [PER CHAMBERS, NO ORAL
       individual; MARCUS OSORIO, an                           ARGUMENT UNLESS REQUESTED
19
       individual; CHRIS BARONI, an                            BY THE COURT]
20     individual; ANGELA SANCHEZ, an
21
       individual; MICHAEL BURBANK, an
       individual; JEREMY DORN, an
22     individual; ANTHONY
23     CASTELLANOS, an individual; MARK
       MEREDITH, an individual; and DOES
24     1-100, inclusive,
25                                Defendants.
26
27
28
                                                        1
                        Notice of Lodgment in Support of Motion for Summary Judgment – 17cv1205-BTM-AGS, 18cv1269-BTM-AGS
     Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.512 Page 2 of 34




 1           The United States of America and Ronaldo Gonzalez hereby submit this Notice of
 2     Lodgment of Exhibits in support of their Motion for Summary Judgment.
 3
         Exhibit                       Description                                            Page Numbers
 4         1     09/23/2020 Declaration of Ronaldo Gonzalez                                   NOL 1-3
 5         2     06/20/2016 Interview of Ronaldo Gonzalez                                     NOL 4-27
           3     08/31/2020 Declaration of German Burgoin                                     NOL 28-30
 6         4     06/14/2016 Excerpted Body Wire Recording                                     NOL 31-32
 7
 8     DATED: September 29, 2020                             Respectfully submitted,
 9                                                           JEFFREY BOSSERT CLARK
10
                                                             Acting Assistant Attorney General,
                                                             Civil Division
11                                                           ROBERT S. BREWER, JR.
12
                                                             United States Attorney
                                                             Southern District of California
13                                                           C. SALVATORE D’ALESSIO, JR.
14
                                                             Acting Director
                                                             Torts Branch, Civil Division
15                                                           RICHARD MONTAGUE
16
                                                             Senior Trial Counsel
                                                             Torts Branch, Civil Division
17                                                           s/ Siegmund F. Fuchs
18
                                                             SIEGMUND F. FUCHS
                                                             Senior Trial Attorney
19
                                                             Torts Branch, Civil Division

20
                                                             Attorneys for the Federal Defendants

21
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                                                      2
                      Notice of Lodgment in Support of Motion for Summary Judgment – 17cv1205-BTM-AGS, 18cv1269-BTM-AGS
     Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.513 Page 3 of 34




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 8
                                  SOUTHERN DISTRICT OF CALIFORNIA
 9
       ELIZABETH JIMINEZ, individually,                           Consolidated Case Nos.:
10                                                                  17cv1205-BTM-AGS
       and as successor in interest of                              18cv1269-BTM-AGS
11     FERNANDO GEOVANNI LLANEZ,
       deceased; FERNANDO LLANEZ,                                 EXHIBIT ONE TO THE NOTICE OF
12                                                                LODGMENT IN SUPPORT OF THE
       individually, and as successor in interest                 UNITED STATES OF AMERICA AND
13     of FERNANDO GEOVANNI LLANEZ,                               RONALDO GONZALEZ’S MOTION
       deceased                                                   FOR SUMMARY JUDGMENT:
14
                                Plaintiffs,                       DECLARATION OF RONALDO
15                                                                GONZALEZ
16                    vs.
17
       THE UNITED STATES OF AMERICA;
18     RONALDO RICARDO GONZALEZ, an                               CTRM: 15B
                                                                  JUDGE: Hon. Barry Ted Moskowitz
       individual; MARCUS OSORIO, an
19
       individual; CHRIS BARONI, an
20     individual; ANGELA SANCHEZ, an
21
       individual; MICHAEL BURBANK, an
       individual; JEREMY DORN, an
22     individual; ANTHONY
23     CASTELLANOS, an individual; MARK
       MEREDITH, an individual; and DOES
24     1-100, inclusive,
25                                   Defendants.
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                                                           1
                                                                                                         NOL-001
               Exhibit One to Notice of Lodgment in support of Motion for Summary Judgment – 17cv1205-BT-AGS, 18cv1269-BTM-AGS
     Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.514 Page 4 of 34




 1           I, Ronaldo Gonzalez, declare under penalty of perjury as follows:
 2           1.        I am currently employed by U.S. Immigration and Customs Enforcement
 3     (“ICE”) as a Special Agent, specifically assigned to the Special Agent in Charge, Office of
 4     Homeland Security Investigations, located in San Diego, California. I am currently
 5     assigned to the Office of International Affairs. I have been employed with ICE since 2006.
 6     My duties as a Special Agent include investigating criminal violations relating to the
 7     smuggling and transportation of controlled substances. I have participated in numerous
 8     investigations, many of which involved the arrest of persons for violations of the
 9     Controlled Substances Act. If called as a witness to testify, I could and would competently
10     testify to the matters stated herein.
11           2.        This declaration is in support of the United States of America and Ronaldo
12     Gonzalez’s Motion for Summary Judgment in the above-captioned consolidated cases.
13           3.        I have personal knowledge of the events relating to the shooting of Fernando
14     Geovanni Llanez on June 14, 2016, in Chula Vista, California, and the contents of the audio
15     recording of such events, as described below.
16           4.        On June 14, 2016, I was participating in an undercover operation and
17     conducting a controlled delivery of approximately 2,000 pounds of marijuana in a shopping
18     center in Chula Vista, California.
19           5.        I was interviewed by the Chula Vista Police Department in person on June 20,
20     2016, regarding the events that occurred on June 14, 2016. I have reviewed Exhibit Two
21     to the Notice of Lodgment filed in support of the United States of America and Ronaldo
22     Gonzalez’s Motion for Summary Judgment that is an excerpted transcript of that interview.
23     The statements contained in Exhibit Two are, in sum and substance, truthful and accurate
24     statements of my recall of the events that occurred on June 14, 2016.
25           6.        I also reviewed Exhibit Four to the Notice of Lodgment filed in support of the
26     United States of America and Ronaldo Gonzalez’s Motion for Summary Judgment that is
27     an excerpted audio recording from the body wire I wore during the undercover operation
28
                                                              2
                                                                                                            NOL-002
                  Exhibit One to Notice of Lodgment in support of Motion for Summary Judgment – 17cv1205-BT-AGS, 18cv1269-BTM-AGS
     Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.515 Page 5 of 34




 1     on June 14, 2016. The excerpted audio recording is a truthful and accurate record of my
 2     voice and actions as identified below:
 3           •      0:01                My voice identifying the date and time of the recording: “The
 4                                      date is June 14, 2016, the time is approximately 12:24 p.m.”
 5           •     0:45                 Me inserting keys into the van and then taking off running.
 6           •     0:50                 My voice screaming in pain and yelling “help.”
 7           •     0:53                 Me discharging my weapon four times.
 8           •     1:03                 My voice yelling “help” two more times.
 9           •     1:09                 Officers picking me up in their vehicle.
10           •     1:33                 My voice stating “I think he hurt me. I think he shot me with
                                        something . . . a taser.”
11
             •     2:48                 My voice stating “he fucking shot me with something dude.”
12
             •     3:04                 My voice stating “check my back dude, you see anything?”
13
14           I declare, under the laws of the United States, that the foregoing is true and correct.
                     23rd day of September, 2020.
       Executed this ___
15
16                                                                         _________________________
                                                                           Ronaldo Gonzalez, Special Agent
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                                                                                                           NOL-003
                 Exhibit One to Notice of Lodgment in support of Motion for Summary Judgment – 17cv1205-BT-AGS, 18cv1269-BTM-AGS
     Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.516 Page 6 of 34




 1                                        TRANSCRIPT
 2
 3     CASE NUMBER: 1609053
 4
 5
 6
 7
 8
 9                                       INTERVIEW OF:
10                           SPECIAL AGENT RONALDO GONZALEZ
11
12
13
14                                     INTERVIEWED BY:
15                               DETECTIVE A. MOLINA (ID 840)
16                                CHULA POLICE DEPARTMENT
17
18
19
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22
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26
27     Transcribed By: Kathy Koeppel
28


                                                 1                               NOL-004

                      Case 1609053 Interview of Special Agent Ronaldo Gonzalez
     Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.517 Page 7 of 34




 1     LEGEND
 2     AM:        Detective Anthony Molina (ID 840)
 3     AC:        Special Agt. Ronaldo Gonzalez
 4     DO         Sgt. David Oyos (ID 752)
 5     JJ:        Associate General Counsel Jeffrey J. Jacobson, Esq.
 6     (inaud)    Unintelligible
 7
 8     AM         OK, uh, my name is Detective Anthony Molina. I’m with the Crimes of Violence
 9                Unit with the Chula Vista Police Department. My ID number is 840. It is
10                Monday, um, June 20th, 2016, and the time is approximately 1402 hours. And I’m
11                gonna be passing this around for others in the room with me.
12     DO         Uh, Sgt. David Oyos, Chula Vista PD, ID number 752.
13     JJ         Jeffrey Jacobsen, Associate General Counsel, Federal Law Enforcement Officers
14                Association.
15     RG         Uh, Ronaldo Gonzalez, Special Agent, Homeland Security Investigations.
16     AM         OK, great. OK, um, Ronaldo, I know, uh, prior to walking into the room I’ve
17                introduced myself to you and so, uh, you know who I am. But I’m gonna kind of
18                go through that again. We have, uh, as you know, we are recording this…
19     RG         OK.
20     AM         …Um, interview. So, um, again I’m the d-detective assigned as the, uh, case agent
21                for this case. And that encompasses, um, basically the officer-involved shooting,
22                um, uh, and also the c-circumstances around it, meaning that there are several
23                people in custody for this incident and that I’m also the case agent, uh, assigned
24                for that case. Just so that you’re un…you’re aware of that, OK? So as we go into
25                this, obviously we’re going to be asking you a number of questions. Uh,
26                obviously your attorney is present and we’re open to him, um, chiming in, um,
27                advising you about things. Obviously that’s why he’s here. So as we begin this
28                we’re gonna go ahead and just start with reading you, um, your Miranda Rights.


                                                     2                                 NOL-005

                      Case 1609053 Interview of Special Agent Ronaldo Gonzalez
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 1                And I go through them, I always like to read it right off of here, OK?
 2     RG         Sure.
 3     AM         So I’ll be reading right through this. OK, so Ronaldo, you have the right to say
 4                nothing. Anything you say can be used against you and will be used against you
 5                in a court of law. You have the right to talk with an attorney and to have an
 6                attorney present before and during questioning. If you cannot pay for an attorney,
 7                one will be appointed free of charge to represent you before and during
 8                questioning. Do you understand those rights?
 9     RG         I do.
10     AM         OK. And obviously in this case we have your attorney present with us. Um, and
11                I, again, like I said, I have every intention of questioning you about this case, and I
12                want to make sure you are aware of that?
13     RG         I’m aware.
14     AM         OK. And that you’re OK speaking with me about this case?
15     RG         I’m OK.
16     AM         OK. Great. OK, so, um, Ronaldo, do you, do you go by Ronnie?
17     RG         I go by Ronnie.
18     AM         OK, and that’s what I’ve heard, uh, in interviews and speaking with your partners
19                and stuff, so I’m gonna call you Ronnie if that’s OK?
20     RG         Absolutely.
21     AM         You’re welcome to call me Tony. That’s what I go by here. Um, so I’m gonna
22                just as we start through here aside from me calling you Ronnie, we’re gonna go
23                through and actually get full spelling and all that, OK? So your first, uh, legal f-
24                first name…Ronaldo?
25     RG         Ronaldo.
26     AM         Spell it for me.
27     RG         R-O-N-A-L-D-O.
28     AM         Do you have a middle name?


                                                     3                                  NOL-006

                      Case 1609053 Interview of Special Agent Ronaldo Gonzalez
     Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.519 Page 9 of 34




 1     RG         It’s Ricardo. R-I-C-A-R-D-O.
 2     AM         And your last name?
 3     RG         GONZALEZ. G-O-N-Z-A-L-E-Z.
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                      Case 1609053 Interview of Special Agent Ronaldo Gonzalez
 Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.520 Page 10 of 34




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 6   RG        And then I asked Sergio I said, hey, what, what do you think? How do you think
 7             this is going? Are they gonna go pick up the money? Like, what’s your gut
 8             feeling on this?
 9   AM        And he said, yeah, I think everything is going well. I think they’re able, he’s, I, I
10             believe they’re, they are gonna be able to convince the buyer to, to bring the, to
11             bring the cash so that they can take the, the narcotics.
12   RG        I said good.
13   AM        Is he ever saying anything to you at this point about, like, how he knows them? Or
14             how long he’s known them? Or if he’s dealt with them before?
15   RG        Um, no, no.
16   AM        OK.
17   RG        I don’t, I don’t believe so.
18   AM        OK. OK. So what happens?
19   RG        Um, so at this point, it’s probably 1:45 or so?
20   AM        So it’s been about fifteen minutes since they left?
21   RG        It’s been about fifteen minutes or so. Uh, he gets a phone call. And he says…
22   AM        Sergio gets a phone call?
23   RG        Sergio gets a phone call. Um, and he’s, like, hey, I think the guys are, are getting
24             closer. Actually he told me, he said hey, oh, you know, I’m sorry. So Sergio did
25             call somebody. I’m not sure who it was. And, uh…who did he call? Sergio
26             called…talked to somebody and asked them how long they were gonna be. I’m
27             not sure if he was talking to the two kids or to somebody else. And they said, hey,
28             call me back in ten minutes.


                                                  78                                 NOL-008

                   Case 1609053 Interview of Special Agent Ronaldo Gonzalez
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 1   AM        OK. This is while you guys are…?
 2   RG        While we we’re sitting right, right here by the X behind the water fountain.
 3   AM        OK.
 4   RG        O-on the west side of the water fountain.
 5   AM        OK. So he calls somebody? How long are you guys gonna be? They tell him
 6             about ten minutes.
 7   RG        Ten, no, they said call me back in ten minutes.
 8   AM        And this is what he relays to you?
 9   RG        And he relays to me, he said, hey, they told me to call them back in ten minutes.
10   AM        OK.
11   RG        So then we’re just having a, a social conversation for about ten more minutes.
12   AM        OK.
13   RG        During this social conversation I said, hey, so, do you think they’re, I’m gonna get,
14             um, two hundred, two hundred thousand? Um, and he’s, like, oh, I’m not sure,
15             I’m not sure all the details. And then he calls, I believe he calls the CI. And, and
16             then after he’s, I’m not sure if it’s the CI or who, but then he hangs up and I was
17             like, hey, did…w-what was that? And he’s, like, oh, I understand it’s gonna be
18             one hundred and fifty thousand.
19   AM        To you?
20   RG        To me.
21   AM        OK.
22   RG        He said you, you’re, you’re gonna get a hundred and fifty thousand.
23   AM        Mm-hmm.
24   RG        I said a hundred and fifty thousand, huh? I was, like, not two hundred? And he
25             said no, it’s a hundred fifty. I was, like, OK, well, if that’s what was negotiated
26             then so be it.
27   AM        And at that point how, what was your understanding of how you would actually
28             receive this money? Was it going to be from Sergio or from?


                                                 79                                  NOL-009

                   Case 1609053 Interview of Special Agent Ronaldo Gonzalez
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 1   RG        Sergio was there to facilitate the tran…the, the bringing the money and giving it to
 2             me.
 3   AM        So…
 4   RG        He was there as, as kind of like the…to, to basically to put their minds at ease.
 5   AM        OK. So again in your understanding, they would be handing him the money?
 6   RG        Yes.
 7   AM        And you would be getting your cut from, from Sergio?
 8   RG        Sergio. Correct.
 9   AM        And was there any talk at this point as to, like, how this would be? Is there a
10             standard, like, you know…?
11   RG        Uh, I, the deals that I’ve done in the past are normally, like, in a gift bag.
12   AM        OK.
13   RG        Something like that, and, so if maybe they already had it divvied out…
14   AM        OK.
15   RG        Here’s a gift bag, well, I mean, a hundred fifty thousand could easily fit inside of a
16             small little gift bag.
17   AM        OK. OK. So now what happens?
18   RG        So that was my impression that OK once they went, they were gonna tell them,
19             hey, the dope is there. They, they saw the sample. Um, it looked quite fresh. Uh,
20             because during their conversation with whoever they were talking to, that was the
21             big concern is, is it yellow? Is it green? What is it looking like?
22   AM        Mm-hmm.
23   RG        And I was clear to them, like, uh, it, it’s pretty good. Look at it. But I’m not
24             selling it. I’m, I’m…
25   AM        OK.
26   RG        Uh, so then he says yeah, it’s gonna be a hundred fifty thousand.
27   AM        OK.
28   RG        Uh, maybe five or seven minutes later, um, he says, hey, the guys are back.


                                                  80                                   NOL-010

                     Case 1609053 Interview of Special Agent Ronaldo Gonzalez
 Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.523 Page 13 of 34




 1   AM        Sergio tells you this?
 2   RG        Sergio says the guys are here.
 3   AM        And how did he know? Did he get a phone call?
 4   RG        He got a phone call I believe.
 5   AM        Were, were you still sitting, sitting with him?
 6   RG        I was, we were still sitting right here.
 7   AM        OK.
 8   RG        And he receives a phone call.
 9   AM        And he…
10   RG        I can’t remember if it was a phone call or text message.
11   AM        OK.
12   RG        But he looks at his phone or, or answers it, I can’t recall.
13   AM        Gotcha.
14   RG        And he’s like, hey, they’re here, they’re ready to go. So I’m, in my mind, I’m
15             assuming, OK the two guys number one and number two…
16   AM        Mm-hmm.
17   RG        Are back in the parking lot with the money. I’ll take the money. I’ll grab, grab
18             Anthony, jump in my vehicle, and we’re out of there.
19   AM        OK.
20   RG        That was my, that was in, that was my mindset.
21   AM        OK.
22   RG        I walk out, uh, and again Sergio was, like, hey, you know, let’s just go out and
23             meet him. So I tell Anthony, hey, just sit tight, you know, keep an eye.
24   AM        OK.
25   RG        Uh, so he goes back to this location here to the bench.
26   AM        So Anthony goes back to the bench that’s right under the Goody Sushi?
27   RG        Yes.
28   AM        OK. And do you, when you start walking out, do you see anybody in the lot yet?


                                                   81                              NOL-011

                   Case 1609053 Interview of Special Agent Ronaldo Gonzalez
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 1   RG        So there’s a group of guys. I believe there were four guys?
 2   AM        OK.
 3   RG        That were by the van on the driver’s side.
 4   AM        OK.
 5   RG        Um, so, so Sergio and I slowly walked towards the location of the van.
 6   AM        OK.
 7   RG        Um, and while we were at the van…
 8   AM        And real quick, driver’s side is the, is the side facing, like, it’s closer towards the
 9             Starbucks?
10   RG        Correct.
11   AM        Gotcha.
12   RG        Correct.
13   AM        OK.
14   RG        Um, so we walk towards the van.
15   AM        Mm-hmm.
16   RG        At that point, um, the kid, the, the guy with the pink shirt…
17   AM        Mm-hmm.
18   RG        Says, hey, these are the two guys that you want to talk to.
19   AM        OK.
20   RG        So there’s four of them, right? There’s number one, number two, and then there
21             were two additional guys that I saw, that I observed.
22   AM        OK.
23   RG        Plus Sergio.
24   AM        OK, so let’s talk about these two additional guys that, that sh…they’re new to the
25             picture. Let’s go we’ll call one number three for now. What’s he look like?
26   RG        Skinny. He had like a little goatee, um, very, um, slight frame. Maybe he
27             weighed a hundred forty pounds. Um, I believe he had a red shirt, uh, a sweater,
28             black sweater.


                                                  82                                   NOL-012

                   Case 1609053 Interview of Special Agent Ronaldo Gonzalez
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 1   AM        How old did he look?
 2   RG        Early twenties?
 3   AM        Uh, what about his hair?
 4   RG        Uh, short…short haircut?
 5   AM        And then what about the other guy?
 6   RG        The other guy was a bigger guy, maybe two twenty, two thirty pounds. Uh,
 7             heavy-set, uh..may…uh, maybe 5’9”, 5’10”, um…
 8   AM        Facial hair or anything?
 9   RG        I, I don’t recall. Uh, I believe he had a black sweater on and a, a hoody.
10   AM        OK. And did he look distinctly different than any of the other ones you’ve named
11             so far, one, two, three, four, the heavy-set guy? Was he much heavier?
12   RG        Oh, much heavier.
13   AM        OK.
14   RG        Much heavier, yeah. Yeah, the other…so, I would, if we can go back. So number
15             one with the pink shirt was probably 5’6”, 5’7”, um, 130 pounds. Number two
16             was a little bit bigger guy. Maybe 5’8”, 5’9”, um, looked to be in pretty good
17             shape. Uh, maybe weighed a hundred and eighty pounds. Um, so those are the
18             initial guys that I’ve been dealing with for a while, and then, um…
19   AM        Do you remember anything about their hair? One and two? Like, one?
20   RG        Well, number, number, short haircut, um, light skin. No facial hair.
21   AM        OK.
22   RG        And then number two had kind of a scruffy beard, not, not long though just short.
23             Short little, um, like a goatee.
24   AM        OK.
25   RG        Um, he had kind of like the hair that kind of swoops down…
26   AM        So when you say that kind of when you say hair that swoops down…inaud…
27   RG        Yeah, he had a, but he had a ball cap on but you could see, like, his bangs were
28             kind of like in one direction.


                                                  83                                 NOL-013

                   Case 1609053 Interview of Special Agent Ronaldo Gonzalez
 Case 3:18-cv-01269-BTM-AGS Document 25-2 Filed 09/29/20 PageID.526 Page 16 of 34




 1   AM        Coming out from under the hat?
 2   RG        Correct.
 3   AM        OK. So now you’re walking up and you’d already had some level of comfort with
 4             one and two because you’ve been talking to them for a while?
 5   RG        Correct.
 6   AM        But you see these guys. What are you thinking when you see three and four?
 7   RG        So, a-as I approached them, I’m thinking well, these are gonna be the guys who
 8             are gonna either they’re, e-either they’re the buyers, and they have the money.
 9             That was my assumption is these are the guys. But they wanted verification for
10             themselves before turning over any money that, uh, that they wanted to know what
11             they were buying.
12   AM        And this is again this is what you were thinking right?
13   RG        This is what I was assuming, yes.
14   AM        OK.
15   RG        In my mind.
16   AM        OK.
17   RG        So then the pink shirt says, hey, these are the good guys.
18   AM        Pink shirt says to you?
19   RG        “Estos son los buenos.”
20   AM        Telling you these are the good guys?
21   RG        Yes.
22   AM        And what does that mean to you when he says that?
23   RG        These are the guys that you want to talk to.
24   AM        OK. OK. So what happens?
25   RG        So I go, I introduce myself. I say, hey, my name is Eduardo. Um, nice to meet
26             you guys. I say, um, so what’s the deal here? And then they’re just looking at the
27             van. And I say, I, I assume you guys want to look at the product. Um, so if you
28             want, and I said to somebody I said, hey, I think there’s a pillow already, like,


                                                 84                                 NOL-014

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 1             closer to the front. So I’ll just open the pass…the driver’s side door, and I’ll give
 2             you guys access to it. And you can see the pillow that’s already been opened. A
 3             pillow is a bundle. It’s like a 10 kilogram, uh, bundle of marijuana.
 4   AM        OK.
 5   RG        It had already been opened up.
 6   AM        And where were you standing at in relation to the van at this point? Could you put
 7             like a, a dot?
 8   RG        It was a half-circle of us.
 9   AM        OK.
10   RG        Like this. So one, two, three, four, five.
11   AM        OK. And so where…?
12   RG        So I was, like, right…so this is me. Um, this is, uh, this is number four.
13   AM        OK.
14   RG        This is number one. Um, uh, actually, actually Sergio was, uh, over here.
15   AM        OK.
16   RG        And then number three.
17   AM        OK. And then I’m gonna scribble out over that last dot.
18   RG        Sure.
19   AM        That’s nobody. OK. So this is where you’re telling them about, hey, why don’t
20             you, there, I think there’s a pillow right by the driver’s door?
21   RG        Right.
22   AM        OK.
23   RG        But I remember I had locked the door. I had locked all the doors. And I, I didn’t
24             want to give them access to the key because they would’ve driven away with that
25             key.
26   AM        Gotcha. And what were you, who were you primarily talking to at this point when
27             you said that?
28   RG        I was talking to the, the slight guy…


                                                  85                                 NOL-015

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 1   AM        And that, and we’ve numbered him number three?
 2   RG        Number three.
 3   AM        You were telling him…?
 4   RG        Hey…
 5   AM        …that? OK.
 6   RG        Yeah, like if you know what? The pillow’s already in the front. Let me just open
 7             up the door and you guys can take a look at it.
 8   AM        OK. Now up to now remember when you talked to number one and two, you said
 9             to me that those guys seemed to know what they were doing, like, they’ve done
10             this before in the way they talk?
11   RG        Yes.
12   AM        Tell me about three and four as you’re talking to them about this. What’s your
13             impression of them as you guys start to talk?
14   RG        There was little to no conversation, uh, basically I was the one doing the talking.
15   AM        OK.
16   RG        My assumption a-again was that they were just there to verify that the dope was
17             there…
18   AM        OK.
19   RG        Since all the negotiations had already been done by number one and number
20             two…
21   AM        OK.
22   RG        And so I just needed to give them access to it to verify…either they had the money
23             or they just needed to, to give the thumbs up to somebody who had the money in
24             order to, to have access to the van…
25   AM        Gotcha. Did they look nervous at all or anything?
26   RG        Um, they looked stoic and somewhat, like, stern? Um, uh, I would say serious.
27             They looked very serious.
28   AM        Very serious?


                                                   86                               NOL-016

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 1   RG        Yes.
 2   AM        OK. OK. So tell me what happens now. Because you said you think you’d
 3             locked the driver’s door?
 4   RG        I had locked all the doors.
 5   AM        OK.
 6   RG        Um, so I said, well, I’ll go ahead and open up the driver’s side door. So I put the
 7             key in the direction, uh, of the key hole on the driver’s door. I opened, uh,
 8             unlocked it and at this…
 9   AM        Did you have to actually put the key in to unlock in?
10   RG        I did.
11   AM        So it’s not a remote?
12   RG        I, it’s a remote, but I didn’t want to open up all the doors. I, I only wanted them to
13             have access to the, to the one side w-where I was.
14   AM        OK.
15   RG        I didn’t, so that they wouldn’t be on the other side doing something that I wasn’t
16             aware of.
17   AM        OK.
18   RG        Um, so I purposely did that.
19   AM        Gotcha. So now you put the key into the driver’s door?
20   RG        I put the key into the driver’s door.
21   AM        Unlock it?
22   RG        Unlock it.
23   AM        OK.
24   RG        At this point, um, as I’m unlocking the door, I see…I, I, I, there’s a commotion on
25             the left side of me, which would be the north side. And so I look over my left
26             shoulder, so…
27   JJ        So in your peripheral vision?
28   RG        I, I’m facing towards the Albertson’s…


                                                  87                                 NOL-017

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 1   AM        OK.
 2   RG        And I look over and my peripheral vision catches some sort of, uh, activity.
 3   AM        OK.
 4   RG        So I look over my left shoulder, and I see somebody chasing another guy.
 5   AM        OK.
 6   RG        As if to kick him or hit him.
 7   AM        OK.
 8   RG        And so then as I see the commotion happen, uh, it’s probably six, seven feet away
 9             from me, I c-completely turn my body, uh, 180 degrees, and now I’m facing
10             completely west, so…
11   AM        OK. You can leave it face, uh, having the same direction for you. So now you are
12             looking towards the Starbucks?
13   RG        Towards the Starbucks. Correct.
14   AM        And what is your observation at that point?
15   RG        At this point I see the heavyset guy, number 4, um, coming towards me rapidly,
16             and he, he had a weapon in his hand. And at this point I ran towards the front of
17             the vehicle, to the north, and I, I, I, I positioned myself, uh, at this point I was by
18             the headlight of the passenger side.
19   AM        OK.
20   RG        And I had completely turned around and I saw that he had a weapon in his hand.
21   AM        OK. Now the first time you said you noticed he had a weapon in his hand, you
22             were standing on the driver’s side door of the, uh, on the driver’s side of the van?
23   RG        Yes.
24   AM        And you said you, the commotion causes you to turn around you said 180, which
25             now you’d be facing…
26   RG        Correct.
27   AM        This. Did you see who was chasing who?
28   RG        I did not.


                                                   88                                  NOL-018

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 1   AM        OK.
 2   RG        No.
 3   AM        As you’re, as you’re hearing you said a commotion, it caused you to turn around.
 4             What are you, what’s going on for you at that time? What are you feeling? What
 5             are you thinking?
 6   RG        Uh, at, at, at this point it probably took me about a split second and I realized it’s a
 7             rip.
 8   AM        And what do you mean by that?
 9   RG        Uh, by a rip I mean they’re gonna try to, to injure me or take me out of the picture
10             in order for them to steal the van with the drugs, with the eight hundred to a
11             million, eight hundred thousand to a million dollars worth of drugs.
12   AM        OK. So as you’re realizing it’s a rip, now you still had not seen the weapon yet,
13             right?
14   RG        …inaud…
15   AM        Or had you at this point…?
16   RG        As soon as I saw the kick and, and, and somebody chasing somebody…?
17   AM        Uh-huh.
18   RG        I turned around and I saw that the heavy-set guy had a weapon in his hands.
19   AM        OK, so that was all at once?
20   RG        Yes.
21   AM        A guy’s being chased, you turn around, you see the heavyset guy that we call
22             number 4?
23   RG        Correct.
24   AM        Had a weapon in his hands.
25   RG        Yes.
26   AM        And you kind of, you, and right now you kind of held your hands in front of you.
27             So since this guy was actually standing at the time, correct?
28   RG        Yes.


                                                  89                                  NOL-019

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 1   AM        Where are the position of his hands in, as related to his body?
 2   RG        His hands were close to his belt buckle.
 3   AM        Gotcha.
 4   RG        Or close to his waist.
 5   AM        And when you say you saw a weapon, what are you actually processing in your
 6             head? What are you seeing in his hands?
 7   RG        I’m seeing a weapon and he’s coming towards me.
 8   AM        But when you say a weapon, because a weapon could be a knife, a weapon could
 9             be anything, what, what are you seeing in his hands? What’s your visual cues that
10             you’re seeing?
11   RG        I, I saw, I saw a black, uh, handheld weapon. A black and yellow handheld
12             weapon.
13   AM        OK. Black and yellow? At that time are you, uh, are you, um, looking at that?
14             Making any judgement on what that is?
15   RG        No. Uh, I, I thought it was a gun.
16   AM        OK. So you’re seeing what you believe to be…?
17   RG        A firearm.
18   AM        A firearm?
19   RG        Yes.
20   AM        What, and is that the time you’re saying you realize it was a rip?
21   RG        Yes.
22   AM        OK. As you’re processing that and seeing that, what’s going on for you? What
23             are you feeling?
24   RG        I need to separate myself from this person. Uh, because my weapon was on my,
25             on my left ankle.
26   AM        OK.
27   RG        And so I realized I need to make some, get some space between me and this guy,
28             um, in order to access my weapon if, if in case, if indeed I need to access it.


                                                 90                                  NOL-020

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 1   AM        OK.
 2   JJ        Right, but why do you need space?
 3   RG        Because he was a big guy. Um, he had a, a look of determination as if he was
 4             trying to injure me. Um, and if he touched me or shot me, like, I would, I
 5             wouldn’t have had an opportunity to defend myself.
 6   AM        OK. How long, we’re taking a kind of a step out of this for a second, how long
 7             would it normally take you to access your firearm, which you said is on your
 8             ankle, right? Which ankle is it on?
 9   RG        Left ankle.
10   AM        And is it in a holster?
11   RG        In a holster.
12   AM        OK. Is there any sort of retention on that holster?
13   RG        Uh, there is a retention.
14   AM        What kind of retention would that be?
15   RG        It’s a snap. And one, one side snaps to it. And then on the inside I believe there’s
16             Velcro.
17   AM        OK, so there’s almost, like, at least some sort of double retention on that?
18   RG        Uh, it’s a single retention. It could be ripped out if you pull it hard enough.
19   AM        OK. Are you wearing pants?
20   RG        Jeans.
21   AM        And the jeans are covering up that weapon obviously?
22   RG        Correct.
23   AM        OK. So how long, let’s say we’re taking a step out of this for a second, how long
24             would it normally take you to access, pull up your jeans, and access that firearm?
25   RG        I, I’ve trained, um, this way, uh, I’ve never timed myself.
26   AM        OK.
27   RG        Um, but I would estimate o-one or two seconds?
28   AM        OK, uh…


                                                  91                                 NOL-021

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 1   RG        Maybe three seconds?
 2   AM        And you’re talking about from going from standing up to reaching down. You’d
 3             have to pull up your jeans, right?
 4   RG        Yes.
 5   AM        OK.
 6   RG        I’d say two to three seconds?
 7   AM        OK. So, getting back to right here, you turn around. You’re now, you recognize
 8             pretty much immediately as you’re turning and one guy’s being chased to your
 9             right side now, right?
10   RG        To my left side.
11   AM        To your left side but as you…?
12   RG        As I turn around now he’s on my right side.
13   AM        He’s on your right and now you said at that same point, you see number four…?
14   RG        Coming towards me…
15   AM        Coming towards you with what you said you described as possibly a handgun?
16   RG        Yes.
17   AM        What you believe to be a firearm?
18   RG        A weapon, yes.
19   AM        OK. And he’s coming towards you.
20   RG        Correct.
21   AM        And you said that you, um, you knew you had to get distance?
22   RG        Correct.
23   AM        So tell me more about this point in time. What are you thinking? Like, as you go
24             to create space.
25   RG        As I go to create space, in my mind I’m thinking I, I need to step quickly. I
26             quickly stepped towards the front of the vehicle. At this point, uh, I look back and
27             I see he’s, he’s engaging me. He’s, he’s articulating the weapon towards me.
28   AM        OK. Are we saying, a-are you saying he’s pointing the weapon towards you?


                                                    92                             NOL-022

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 1   RG        He’s pointing the weapon at me.
 2   AM        OK.
 3   RG        And he fires. He, he, he shoots the weapon at me.
 4   AM        OK.
 5   RG        Uh, and something hits me in my back.
 6   AM        What did you think? What’s going on? What do you, what did you hear and what
 7             do you think?
 8   RG        It, I really didn’t hear a whole lot. Uh, I think my, my hearing kind of went silent
 9             at that point. Um, but I, I realize I need to, he’s gonna hit me again and I’m still
10             conscious.
11   AM        So real quick when you said some, uh, something hit you in your back, what did
12             you think it was?
13   RG        I wasn’t sure if I was shot.
14   AM        OK.
15   RG        Um…I, I…
16   JJ        What did it feel like?
17   RG        It felt like, like a, like a stone hitting my back.
18   AM        OK.
19   RG        Like a stone hitting my back and if there was one stone, like, maybe my adrenaline
20             was, was, was pumping so hard that I was shot but, uh, but I was still able to, uh,
21             react.
22   AM        OK.
23   RG        And so, I, I dropped down to my right knee, I, facing him because, uh, he had hit
24             my back. And when he hit my back, I turned around towards him because it was
25             an open parking lot and if he had, if he was gonna shoot me again, it wouldn’t
26             have been very difficult for him to do so because there was no cover.
27   AM        OK.
28   RG        There was no cover anywhere in this, in this general vicinity.


                                                   93                                NOL-023

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 1   AM        Uh, and describe that a little more. You said because there was no…?
 2   RG        There was no cover.
 3   AM        Cover? Oh, meaning you had nowhere to be…inaud…
 4   RG        I had nowhere to run. I would’ve had to run a long way before I have cover.
 5   AM        OK. Gotcha. So you had no cover to run to?
 6   RG        Right.
 7   AM        In the position where you were at?
 8   RG        Correct.
 9   AM        OK. So you turned and faced him?
10   RG        I turned and faced him. Uh, I dropped down to my right knee, and I pulled up my
11             pant leg on my left leg.
12   AM        OK.
13   RG        Uh, exposing my firearm on my holster, my left ankle. Uh, I then withdrew my,
14             my handgun. And, uh, I pointed it towards him. At this point I saw he was still
15             manipulating the weapon that was in his hand.
16   AM        When you say manipulating, what do you actually see…inaud…?
17   RG        He was, he, he had both hands on his, on, on the weapon. And he was, and, and,
18             and he was trying to engage me again.
19   AM        OK.
20   JJ        And, OK, when you say manipulating, do you mean moving? Or were his hands
21             moving? Manipulating means changing.
22   RG        His, his hands were by the belt buckle. And when I turned around and I dropped
23             down to my right knee, exposing my handgun, I looked up and his two hands were
24             still on the weapon, and the weapon was pointed towards me.
25   AM        OK. So this weapon that you’ve described as a firearm, you see it pointing
26             towards you?
27   RG        Yes.
28   AM        And when you, and again when you say manipulating, did you see any motion on


                                                94                               NOL-024

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 1             his hand about like, uh, doing anything with that?
 2   RG        No. H-his finger was on the trigger.
 3   AM        OK.
 4   RG        His finger was on the trigger.
 5   AM        And it was still pointed towards you?
 6   RG        And it was still pointed towards me.
 7   AM        And what are you thinking as you see this?
 8   RG        As I’m, as I see this, I’m thinking that he’s gonna shoot me.
 9   AM        OK.
10   DO        OK. Everybody’s been real big on what you’re thinking. What are you feeling
11             right now? I mean, I can tell right now just kind of re-living this, you’re getting
12             kind of emotional.
13   RG        It’s…
14   DO        Were, I mean, were you scared? I mean, what are you…?
15   RG        I thought I was gonna die.
16   DO        OK.
17   RG        I thought I was gonna die.
18   DO        I mean, that’s important…inaud…
19   RG        I wasn’t sure if I had been shot in my back already and it was just a matter of time
20             before I collapsed.
21   JJ        Mm-hmm.
22   AM        Hmm.
23   RG        Um, so, I, I, as I’ve been trained, I pulled the weapon out of my holster and I, and I
24             shot him center mass, um, approximately three or four times.
25   JJ        Was it, uh, w-were you on your sights?
26   RG        It was, it was point and shoot. He was approximately seven or eight feet away.
27   AM        When you pointed that gun and started firing about how, how quickly was the
28             succession of those you said three to four shots? How quickly was that?


                                                 95                                 NOL-025

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 1   RG        Very quickly, within…
 2   AM        And
 3   RG        I don’t know, one or two seconds.
 4   AM        Was there any pause that you could remember between any of those?
 5   RG        No.
 6   AM        When you fired the…started firing, what were your observations of number four,
 7             this person you’re firing at. What were your observations? What was happening
 8             to him as you were firing?
 9   RG        As I fired the first round I was on my knee and I shot center mass, and he sort of
10             stumbled to the north, like, one step?
11   AM        OK.
12   RG        And, uh, at that point I, I succeeded to fire, or I, I continued to fire two or three
13             more rounds.
14   AM        OK.
15   RG        Um, until the threat was, until I felt that the threat was, had been stopped.
16   AM        And what made you believe that that threat was stopped?
17   RG        He collapsed.
18   AM        OK.
19   RG        After, after the last round that I fired, he, he collapsed.
20   AM        OK. Um, what…?
21   RG        (sighs)
22   JJ        You OK?
23   RG        OK.
24   AM        Yeah and actually I, and, um, and like my sergeant said, I, I think it’s important we
25             don’t breeze past that. Do you, do you have a family?
26   RG        I do.
27   AM        OK. Do you have children?
28   RG        I do.


                                                   96                                  NOL-026

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 1   AM        OK. Um, did any of that, anything come up for you? You said you thought you
 2             were going to…
 3   RG        I thought I was gonna die.
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                                              97                              NOL-027

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                                                                     NOL-028
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                                                                     NOL-029
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                                                                     NOL-030
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 8
                               SOUTHERN DISTRICT OF CALIFORNIA
 9
     ELIZABETH JIMINEZ, individually,                          Consolidated Case Nos.:
10                                                               17cv-1205-BTM-AGS
     and as successor in interest of                             18cv1269-BTM-AGS
11   FERNANDO GEOVANNI LLANEZ,
     deceased; FERNANDO LLANEZ,                                EXHIBIT FOUR TO THE NOTICE OF
12                                                             LODGMENT IN SUPPORT OF THE
     individually, and as successor in interest                UNITED STATES OF AMERICA AND
13   of FERNANDO GEOVANNI LLANEZ,                              RONALDO GONZALEZ’S MOTION
     deceased                                                  FOR SUMMARY JUDGMENT:
14
                              Plaintiffs,                      AUDIO COMPACT DISC
15
16                  vs.
                                                               CTRM: 15B
17                                                             JUDGE: Hon. Barry Ted Moskowitz
     THE UNITED STATES OF AMERICA;
18   RONALDO RICARDO GONZALEZ, an
     individual; MARCUS OSORIO, an
19
     individual; CHRIS BARONI, an
20   individual; ANGELA SANCHEZ, an
21
     individual; MICHAEL BURBANK, an
     individual; JEREMY DORN, an
22   individual; ANTHONY
23   CASTELLANOS, an individual; MARK
     MEREDITH, an individual; and DOES
24   1-100, inclusive,
25                                 Defendants.
26
27
28
                                                         1
                                                                                                       NOL-031
                Exhibit 4 to Notice of Lodgment in support of Motion Summary Judgment – 17cv-1205-BTM-AGS, 18cv1269-BTM-AGS
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 1         Exhibit Four to the Notice of Lodgment in support of the Motion for Summary
 2   Judgment filed by the United States of America and Ronaldo Gonzalez is an audio compact
 3   disc. This document is just a placeholder. A copy of the audio compact disc has been
 4   submitted to the Chambers of the Honorable Barry Ted Moskowitz on this same date.
 5
     DATED: September 29, 2020                                 Respectfully submitted,
 6
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 7                                                             Acting Assistant Attorney General,
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 8
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19
20
21
22
23
24
25
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                                                        2
                                                                                                      NOL-032
               Exhibit 4 to Notice of Lodgment in support of Motion Summary Judgment – 17cv-1205-BTM-AGS, 18cv1269-BTM-AGS
